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                      EXHIBIT D
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                     Bombshell New Police Report
coverstory                                     Case 5:17-cv-05089-TLB Document 45-4                                                                  Filed 08/22/17 Page 7 of 8 PageID #: 392




PRISON FOR THE DUGGARS                                     The shocking                                                                                   one family friend that could have
                                                                                                                                                          landed him in prison. It also presents
                                                                                                                                                                                                     could have been charged with endan-
                                                                                                                                                                                                     gering the welfare of a minor,” adds
                                                                                                                                                                                                                                               was with a
                                                                                                                                                                                                                                               family friend
                                                                                                                                                                                                                                                                   WORLD
                                                                                                                                                                                                                                                                 EXCLUSIVE
                                                                                                                                                                                                                                                                   - From the Mag
                                                          confession from                                                                                 a case that could have sent Jim Bob,       James. “The abuse was happening in        who remod-
                                                                                                                                                                                                                                                                        That Brokeazine
                                                                                                                                                          49, and Michelle, 48, to prison for up     his home — reporting it would have        eled homes).
                                                         Josh Duggar that                                                                                 to six years for permitting the abuse      been the best course of action.”          Only        after
                                                                                                                                                                                                                                                                        the Story
                                                         could have landed                                                                                of a minor as well as child endanger-        Jim Bob and Michelle knew               July 2003 did Jim
                                                                                                                                                          ment. “Because they failed to take ac-     what was going on and did nothing         Bob bring his son to speak with former
                                                       him — and his parents                                                                              tion and prevent the abuse of a minor      at first. From 2002 through 2006,         Arkansas state trooper Joseph Hutch-
                                                           — behind bars                                                                                  in their care, they would have been re-    they never got Josh or his victims help   ens. He also brought along an elder of




                                                       T
                                                                                                                                                          sponsible,” says Arkansas-based            from a mental heath professional, ac-     the church who fits the description of
                                                                 he Duggars were desper-                                                                  criminal defense lawyer William O.         cording to both police reports. Josh      the Duggars’ family friend, Jim Holt.
                                                                 ate. For years, Jim Bob and                                                              “Bill” James Jr., who doesn’t repre-       molested his victims four to five times   (Holt did not return calls for comment
                                                                 his wife, Michelle, had tried                                                            sent any of the parties in the case. The   in March 2002 and again in July 2002.     from In Touch.) Hutchens — who was
                                                                 to bury the scandal sur-                                                                 Duggars waited roughly a year and a        Then, according to the newly obtained     convicted twice on child pornography
                                                       rounding their son Josh. But after                                                                 half after learning of Josh’s behavior     police report, in March 2003 he con-      charges and is currently serving a
                                                       In Touch exclusively published the                                                                 of repeated molestations before going      fessed to Jim Bob that he fondled his     56-year sentence — claims that during
                                                       shocking police report, obtained                                                                   to authorities. They never called the      5-year-old sister while she sat on his    the meeting, Jim Bob reported only
                                                       through the Freedom of Information                                                                 Division of Children and Family Ser-       lap reading a book. Jim Bob met with      one incident to him, and Hutchens
                                                       Act, detailing how the 19 Kids and                                                                 vices — even after learning that Josh,     church elders and Josh was sent away      made the decision not to report the
                                                       Counting star had molested five fe-                                                                then 15, had molested his 5-year-old       for four months of “counseling” (Mi-      case to the Child Abuse Hotline. When
                                                       male minors — four of whom were his                                                                sister, a fact that is made clear in the   chelle later admitted that Josh did not   authorities were alerted in 2006 to
                                                       sisters — when he was a teen, the back-                                                            new police report. “Outside of per-        see a certified counselor and instead     what had happened, the two police re-
                                                       lash was instant. Fans turned on                                                                   mitting abuse of a minor, Jim Bob
                                                       them, TLC pulled the show off the air
                                                       (but did not outright cancel it imme-


                                                                                                                                                                                         Josh’s Full
                                                       diately) and advertisers abandoned
                                                       the family whose wholesome image

                                                                                                                                                                                          Confession
                                                       was in tatters, exposing their ugly se-
                                                       cret. Unable to stop the bleeding, Jim
                                                       Bob and Michelle turned to a small


                                                                                                 FROM LEFT: GETTY IMAGES FOR EXTRA; GETTY; R/R (3)
                                                       group of political advisors and made                                                                                                     In a disturbing
                                                                                                                                                                                              new police report
                                                       the decision to appear on right wing–                                                                                                      obtained by
                                                       friendly Fox to douse the flames and                                                                                                  In Touch, Jim Bob
                                                       try to save the show — and their pay-                                                                                                      reveals that
                                                       check, which is rumored to be as high                                                                                                    Josh admitted
                                                                                                                                                                                              to molesting four
                                                       as $45,000 per episode.                                                                                                                 of his sisters on
                                                          But now In Touch has exclusive-                                                                                                    multiple occasions,
                                                       ly obtained a second, even more                                                                                                           and a female
                                                                                                                                                                                                 family friend.
                                                       shocking, police report. The new
                                                       report is from the Washington
                               PROTECTING              County Sheriff’s Office in Arkansas
                                THEIR OWN              and was also obtained through the
                                                       Freedom of Information Act. It fills
                                 “Jim Bob never
                               wanted Josh’s dirty     in gaps from the first heavily re-
                                secret to get out,     dacted report, and details Jim Bob
                                that’s why he and      recounting how Josh, now 27, made
                              Michelle never pursued
                               any further action,”    a full confession to him about the
                                  says a source.       crimes against his four sisters and

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coverstory                                                         Case 5:17-cv-05089-TLB Document 45-4                Filed 08/22/17 Page 8 of 8 PageID #: 393


  EXPOSING THE
                                                                           ports obtained by In Touch were made,           that [redacted, Josh] was reading to his                                               to distinguish between adults and mi-
                                                                           but the statute of limitations had ex-          5-year-old sister and as she was sitting                                               nors. It says [a person would stay on
                                                                           pired and neither Josh nor his parents          on his lap, he had touched her breasts                                                 the list for] 15 years from whether
                                                                                                                                                                       It’s clear the Duggars wanted
SECRET COVER-UP
                                                                           could be prosecuted for any crimes. “In         and vaginal area,” states the report.                                                  you’re released from prison and placed
                                                                           this case the evidence was all there,           “James said that [redacted, Josh] then        something to stay quiet”                 on parole or placed on probation.”
                                                                           100 percent solid,” says an insider. “A         ran out of the room and called him and                    —A SOURCE
                                                                                                                                                                                                                     But the trouble may not be over
                                                                           prosecutor couldn’t ask for anything            told him what he had done. James also                                                  yet. Now that Jim Bob and Michelle

The Timeline Doesn’t Add Up                                                more. Josh confessed and the girls cor-
                                                                           roborated what had happened. But the
                                                                                                                           said that sometime during this time
                                                                                                                           frame, his daughter had been standing       possible that investigators looking
                                                                                                                                                                                                                  have started to give interviews about
                                                                                                                                                                                                                  Josh’s dark past, it could give authori-
                                                                           statute of limitations had expired.”            in the laundry room and [redacted,          into this case could have cited the par-   ties the evidence they need to launch a
                                                                              The newly obtained police re-                Josh] had put his hand under her            ents Jim Bob Duggar and Michelle           fresh investigation, warns legal ex-
                                                                           port, in which Jim Bob details how              dress.” Once again, Jim Bob and Mi-         Duggar with Arkansas Code 5-27-221         pert and attorney Goldie Schon.
                                                                           his son came to him and said he mo-             chelle did not call authorities and there   ‘Permitting Abuse of a Minor.’ Having      “Through their interviews, law en-
                                                                           lested four of his sisters and anoth-           is no evidence that Josh or the victims     once learned of the behavior, they         forcement and prosecutors may very
                                                                           er minor, is chilling. According to             were given professional counseling.         recklessly allowed it to continue. This    well find the loophole to prosecute,”
The police report describes how Josh and Jim Bob went to see former        Josh’s confession, he started sneaking             In late 2006, the Springdale Po-         crime is a class D felony because the      Schon tells In Touch. “Someone may
state trooper Joseph Hutchens after he received treatment from March       into his sisters’ bedroom at night as           lice Department referred the case           abuse consisted of sexual contact with     want to show that this type of behav-
2003 to July 2003. But the same documents contain a conflicting
statement from one of the victims: “[Redacted] said that that (sic) told   they slept. “James [Jim Bob] said that          to the Families in Need of Services         a minor. The maximum penalty for           ior will not be tolerated.”
the State Police what happened, and then [redacted] went to Little Rock    in March of 2002, [redacted, Josh],             agency. The Arkansas Department of          permitting this type of abuse under           No matter what happens, it will
for training.” Hutchens also recalls being told by Jim Bob that Josh was   who had just turned 14, came to him             Human Services was also brought in to       Arkansas Code 5-4-401 is six years         never take away the emotional
going to seek treatment, not that he had already been in treatment.        very upset and crying. James said that          investigate. Unhappy with the out-          imprisonment and a $10,000 fine.”          pain Josh caused his victims. “The
                                                                           [redacted, Josh] had told him that he           come, Josh sued that department, and        Arkansas-based attorney John Wes-          four Duggar girls ‘forgave’ Josh for his

Hutchens Told                          Zimmerman                           had been sneaking into [redacted]
                                                                           room at night and had been touching
                                                                                                                           a trial was held on Aug. 6, 2007, accord-
                                                                                                                           ing to reports. The Duggars never dis-
                                                                                                                                                                       ley Hall adds that he believes Josh
                                                                                                                                                                       would have been charged as a juvenile
                                                                                                                                                                                                                  sins, but that’s not how you get over
                                                                                                                                                                                                                  sexual abuse,” says the insider. “It’s

 His Superior                             Destroyed                        [redacted] on the breasts and vaginal
                                                                           areas while they were sleeping,” reads
                                                                                                                           closed that they were investigated or
                                                                                                                           the outcome of the case and never in-
                                                                                                                                                                       and also would be subject to appear on
                                                                                                                                                                       the sex offender registry in Arkansas:
                                                                                                                                                                                                                  undoubtedly changed their lives for-
                                                                                                                                                                                                                  ever, and that’s something that no jail

                                         the Report                        the report, which was filed on Dec. 12,
                                                                           2006, after Oprah Winfrey’s Harpo
                                                                                                                           formed their network, TLC, about any
                                                                                                                           of it. An online commenter who had all
                                                                                                                                                                       “The statute 12-12-903 doesn’t seem        sentence can ever fix.” ◼

                                                                           Studios tipped off local authorities            of the facts correct about the scandal in
                                                                                                                                                                                 Are There More Victims?
                                     On May 21, Judge Stacey
                                     Zimmerman ordered the                 (they’d gotten an email from someone            2007 said at the time that the family
                                     Springdale Police Department
          After the meeting,         to destroy all copies of their        alerting them to Josh’s crimes). “[Re-          was forced to report to DHS every six
where Jim Bob told Hutchens          reports, granting a motion on         dacted, Josh] told James that this had          months and that the victims were put
that Josh had only carried out       behalf of one of the underage         occurred four to five times. James said         in counseling per court order. Weeks
one offense, Hutchens claims he      victims. In Touch has learned the     that when they later told the girls what        before they agreed to a TV interview
asked his supervisor, retired        lawyer who brought the motion
state trooper Bill Carver, for       is working for the Duggars. The       had occurred, one of the girls, [redact-        with Fox, Michelle and Jim Bob
advice over lunch. “He asked me      ruling was criticized by Michael      ed], had said that she remembered one           claimed their kids received counseling,
what I thought and I told him        Johnson, former                       time when she woke up and [redacted,            but did not say if it was court-ordered.
that the pastor had already been     U.S. Attorney for the                 Josh] was ‘taking her blanket away,’               Jim Bob and Michelle — who have




                                                                                                                                                                                                                                                             CLOCKWISE FROM BOTTOM RIGHT: TLC; INSTAGRAM; R/R (4). COVER CREDITS: CLOCKWISE FROM TOP LEFT:
involved and that they were          Eastern District of
setting up therapy,” Hutchens        Arkansas, who says                    but she did not remember anything               now hired a lawyer, Kevin A. Crass,
says, adding that Carver advised     the judge cited a                     else.” There is no mention of Jim Bob           from the Little Rock, Arkansas–
him to let it go. Carver denies      law that does not                     taking any official action at this point.       based firm Friday, Eldredge &
advising Hutchens on the case.       apply to this case.                      Four months later, Josh con-                 Clark — seemed to try to protect
                                                                           fessed again. “James said that in July          Josh every step of the way. “He ad-




                                                                                                                                                                                                                                                             SPLASH; GETTY; AP; GETTY (3); SPLASH; WENN; GETTY (2) SPLASH; STARTRAKS
Huckabee Is Tied to Everything                                             of 2002, [redacted, Josh] admitted to
                                                                           him that one night as a female friend of
                                                                                                                           mitted to molesting four family mem-
                                                                                                                           bers and a friend of the family. It’s a
                                                                                                                                                                         According to two police reports, Josh inappropriately touched five
                                                                                                                                                                         female minors, but LA-based psychologist Julie Armstrong tells
Republican presidential                                                    the family’s was sleeping over, he had          very clear confession,” says the insider      In Touch she believes there could be many more victims. “I would
candidate Mike Huckabee                                                    gone to the couch where she was sleep-          of Josh. “The Duggars played the role         be very concerned about the possibility of more victims who were
has close ties to the
Duggar family. Not only                                                    ing and had fondled her breasts as she          of judge and jury when it came to this        equally taught to keep quiet,” she says, citing the fact that Josh never
is he their most famous                                                    slept,” the report continues. “James            situation. And that is just insane when       received proper treatment. (Jim Bob told police that Josh got four
defender, but he and the                                                   said that they disciplined [Josh] after         it comes to the welfare of any child.”        months of “counseling,” but Michelle told police that Josh did not
family share the same                                                      this incident.” Again, no official action          If Jim Bob and Michelle had                see a certified counselor and instead was with a family friend who
lawyer, Kevin A. Crass.                                                                                                                                                  remodels homes.) “All the evidence we know about child molesters
The controversial                                                          was taken and there is no evidence              faced charges of child endanger-
                                                                                                                                                                         is that this isn’t something you can just will away. It stays in the
politician is also a                                                       that Josh received professional coun-           ment, they would have been looking
                                                                                                                                                                         perpetrator’s head,” adds Armstrong. Dr. Helen Friedman, who
close alley of Judge                                                       seling after this incident.                     at up to six years in prison. Law pro-
Zimmerman, who                                                                                                                                                           specializes in child sexual abuse and works with both perpetrators
                                                                              It shows. “James said that about             fessor Michael Johnson, a former Unit-        and victims, agrees: “It’s like alcoholism — there’s no cure. But people
ordered the police
report be destroyed.                                                       nine months later, in March of 2003,            ed States Attorney for the Eastern Dis-       can be in recovery from it where they can have really good lives.”
                                                                           there was another incident. James said          trict of Arkansas, tells In Touch: “It is

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